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                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS


STATE OF NEW YORK;
COMMONWEALTH OF
MASSACHUSETTS; STATE OF
ARIZONA; STATE OF CALIFORNIA;
STATE OF COLORADO; STATE
OF CONNECTICUT; STATE OF
DELAWARE; DISTRICT OF COLUMBIA;
STATE OF ILLINOIS; STATE OF MAINE;
STATE OF MARYLAND; THE
PEOPLE OF THE STATE OF MICHIGAN;
STATE OF MINNESOTA; STATE OF NEW
JERSEY; STATE OF NEW MEXICO;
STATE OF OREGON; STATE OF RHODE
ISLAND; and STATE OF WASHINGTON,

              Plaintiffs,
v.

DONALD J. TRUMP, in his official capacity     Civil Action No. 1:25-cv-11221
as President of the United States; UNITED
STATES OF AMERICA; DEPARTMENT
OF THE INTERIOR; DOUGLAS
BURGUM, Secretary of the Interior, in his
official capacity; BUREAU OF OCEAN
ENERGY MANAGEMENT;WALTER
CRUICKSHANK, Acting Director of Bureau
of Ocean Energy Management, in his official
capacity; BUREAU OF LAND
MANAGEMENT; JONATHAN RABY,
State Director of the Bureau of Land
Management, in his official capacity;
UNITED STATES FISH AND WILDLIFE
SERVICE; PAUL SOUZA, Regional
Director of the United States Fish and
Wildlife Service, in his official capacity;
DEPARTMENT OF COMMERCE;
HOWARD LUTNICK, Secretary of
Commerce, in his official capacity;
NATIONAL OCEANIC AND
ATMOSPHERIC ADMINISTRATION;
LAURA GRIMM, Chief of Staff of the
National Oceanic and Atmospheric
Administration, in her official capacity;
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 NATIONAL MARINE FISHERIES
 SERVICE; EUGENIO PIÑEIRO SOLER,
 Director of the National Marine
 Fisheries Service, in his official capacity;
 UNITED STATES ARMY CORPS OF
 ENGINEERS; LIEUTENANT GENERAL
 WILLIAM H. “BUTCH” GRAHAM, JR.,
 Chief of Engineers for the United
 States Army Corps of Engineers, in his
 official capacity; ENVIRONMENTAL
 PROTECTION AGENCY; LEE ZELDIN,
 Administrator of Environmental Protection
 Agency, in his official capacity;
 DEPARTMENT OF AGRICULTURE;
 BROOKE ROLLINS, Secretary of
 Agriculture, in her official capacity;
 DEPARTMENT OF ENERGY; CHRIS
 WRIGHT, Secretary of Energy, in his official
 capacity; DEPARTMENT OF THE
 TREASURY; and SCOTT BESSENT,
 Secretary of the Treasury, in his official
 capacity,

               Defendants.


         CERTIFICATION OF ADMINISTRATIVE RECORD ON BEHALF OF

                    U.S. ENVIRONMENTAL PROTECTION AGENCY


1. I, Travis Voyles, Associate Deputy Administrator of the U.S. Environmental Protection Agency

   (“EPA”), understand it is the position of the United States that EPA’s temporary cessation of

   wind energy approvals and other authorizations pursuant to the directive in Section 2(a) of the

   Temporary Withdrawal of All Areas on the Outer Continental Shelf from Offshore Wind Leasing

   and Review of the Federal Government’s Leasing and Permitting Practices for Wind Projects

   (“Wind Memorandum”), issued January 20, 2025, is not a final agency action subject to

   challenge under the Administrative Procedure Act. This certification is provided without

   waiving any such argument.


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2. Despite the United States’ position, the Court has ordered the filing of an administrative record

   for EPA’s temporary cessation of wind energy approvals and other authorizations.

3. I hereby certify to the best of my knowledge, information, and belief that the document on the

   attached index constitutes a true, correct, and complete copy of the EPA’s administrative record

   that the Court ordered be produced and that no other documents constituting evidence

   considered, either directly or indirectly, by the EPA exist.

I hereby certify and declare under penalty of perjury that the foregoing is true and correct to the

best of my knowledge, information, and belief.



Executed on July 11, 2025.                      TRAVIS                 Digitally signed by TRAVIS
                                                                       VOYLES

                                                VOYLES                 Date: 2025.07.11 09:38:40
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                                              _________________________________________

                                              Travis Voyles
                                              Associate Deputy Administrator
                                              U.S. Environmental Protection Agency




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